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                                 UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

                       CASE NO. 14-CV-80468-MIDDLEBROOKS/BRANNON

    SECURITIES AND EXCHANGE COMMISSION,

                                   Plaintiff,

    v.

    JCS ENTERPRISES, INC. d/b/a JCS
    ENTERPRISES SERVICES, INC., T.B.T.I., INC.,
    JOSEPH SIGNORE, and PAUL L. SCHUMACK, II,

                                   Defendants.

    ____________________________________________/

                    FIRST REPORT OF RECEIVER JAMES D. SALLAH, ESQ.

           I, James D. Sallah, Esq., not individually, but solely in my capacity as the Court-appointed

    receiver (the “Receiver”) for JCS Enterprises, Inc. d/b/a JCS Enterprises Services, Inc. (“JCS”),

    T.B.T.I., Inc. (“TBTI”), and My Gee Bo, Inc. (“Gee Bo”), their affiliates, subsidiaries, successors

    and assigns (collectively, the “Receivership Entities” or “Estate”) submit this first report regarding

    the present status of the Estate (“First Report”). Although the Court’s April 7, 2014 Amended

    Receivership Order does not require me to file status reports, I believe it is prudent at this time to

    submit this First Report to apprise the Court and all interested parties of the ongoing efforts of

    myself and my professionals in carrying out my court-ordered obligations.
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                      IMPORTANT – PLEASE READ CAREFULLY

          THE STATEMENTS CONTAINED IN THIS REPORT ARE BASED ON THE
    INVESTIGATION CONDUCTED IN THE SHORT TIME ELAPSING FROM THE
    ESTABLISHMENT OF THE RECEIVERSHIP. I HAVE COMPILED THIS REPORT BASED
    ON BOTH MY PROFESSIONALS’ AND/OR MY: (1) REVIEW OF THOUSANDS OF PAGES
    OF DOCUMENTS, INCLUDING EXTENSIVE FINANCIAL RECORDS; AND (2)
    INTERVIEWS    WITH    NUMEROUS     INDIVIDUALS,      INCLUDING    EMPLOYEES,
    ACCOUNTANTS, LEGAL PROFESSIONALS, VENDORS, INVESTORS, FINANCIAL
    INSTITUTIONS, AND OTHER RELATED PERSONS. THE FACTS AND CONCLUSIONS
    HEREIN MAY BE SUBJECT TO CHANGE AS MY INVESTIGATION PROGRESSES
    DURING THE COURSE OF THE RECEIVERSHIP.            OTHER THAN THE AMOUNTS
    CONTAINED IN THE BANKS AND/OR BROKERAGE INSTITUTIONS, THE VALUE OF
    MOST OTHER ASSETS HAS NOT YET BEEN DETERMINED DEFINITIVELY.              AS
    ADDITIONAL INFORMATION IS DISCOVERED, I INTEND TO FILE ADDITIONAL
    REPORTS FROM TIME TO TIME.
          IN WRITING THIS REPORT, I HAVE ATTEMPTED TO BALANCE THE
    IMPORTANCE OF FULL AND FAIR DISCLOSURE OF MATERIAL INFORMATION WITH
    THE CONCERNS OF THE UNDERLYING BUSINESSES AND ASSET INFORMATION
    REMAINING CONFIDENTIAL FOR COMPETITIVE AND PROPRIETARY REASONS. TO
    THAT END, I HAVE OPTED, IN MOST CASES, TO DISCLOSE A SIGNIFICANT AMOUNT
    OF FINANCIAL INFORMATION.      I CAUTION INDIVIDUALS OR ENTITIES FROM
    INTENTIONALLY MISREPRESENTING THE INFORMATION CONTAINED HEREIN,
    DISPARAGING THE RECEIVERSHIP ENTITIES WITH THE INFORMATION, OR USING
    IT TO UNFAIRLY GAIN A COMPETITIVE ADVANTAGE. ANY SUCH ACTION MAY
    HAVE SIGNIFICANT LEGAL CONSEQUENCES.
          FINALLY, TO THE EXTENT THAT THE RECEIVERSHIP ENTITIES ARE
    ENGAGED IN LITIGATION, OR ARE EXPLORING POTENTIAL LAWSUITS AGAINST
    INDIVIDUALS OR ENTITIES, I HAVE NOT SET FORTH ALL OF THE INFORMATION
    SURROUNDING THESE LAWSUITS OR POTENTIAL LAWSUITS SO AS NOT TO
    DISCLOSE    PRIVILEGED,   WORK PRODUCT          INFORMATION, OR   LITIGATION
    STRATEGY.

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         I.      EXECUTIVE SUMMARY
              The same day that I was appointed Receiver, I immediately began to carry out my court-

    ordered obligations and continue to do so. Since the inception of the Receivership on April 7,

    2014, my professionals and I have been successful in taking possession of and securing three

    office/warehouse locations of the Receivership Entities containing extensive amounts of physical

    assets. In an effort to trace investor funds and analyze transactions, my professionals have begun

    an extensive and complex financial reconstruction of numerous financial accounts belonging to

    the Receivership Entities and related third parties. The reconstruction involves more than thirty-

    five thousand (35,000) transactions and spans a period from December 2011 through April 7, 2014.

    Specifically, to date, my professionals have identified a total of seventy-seven (77) related

    financial accounts, including fifty-six (56) bank accounts, eight (8) brokerage accounts, six (6)

    credit card accounts, and seven (7) merchant accounts.1 As of June 30, 2014, I have obtained the

    following net cash amounts, which are currently segregated into three Estate accounts:

                         Receivership Estate Account Balances as of June 30, 2014
        JCS Enterprises, Inc.                                                                 2,620,721.242
        T.B.T.I., Inc.                                                                           483,351.88
        My Gee Bo, Inc.                                                                        1,116,881.34
        Balances in Receivership Estate Accounts                                              4,220,954.46


    1
        Notably, these accounts were located at eight (8) different financial institutions.
    2
      The amount in the JCS Enterprises, Inc. Receivership Estate account is held in two separately
    numbered accounts. As of June 30, 2014, the first account balance is $2,445,141.24 and the second
    account balance is $175,580.00. The latter of the two accounts stems from the Receiver’s receipt
    of funds from Mr. Craig Hipp conducting business as A&K Electronic Solutions. In accordance
    with my directive under paragraph 1 of the Receivership Order to take possession of all assets
    belonging to JCS and TBTI wherever located, I have accepted these funds, as well as additional
    funds described herein. As a result of the number of accounts and transactions, my forensic
    accountants have not yet been able to complete a financial reconciliation to determine whether
    such funds are from persons who invested in JCS and TBTI. If so, I will then seek a nunc pro tunc
    order pursuant to paragraph 24 of the Receivership Order to maintain possession of such funds.
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              To investigate the Receivership Entities’ affairs and locate assets, my professionals have

    already requested documents from the Defendants and issued forty-five (45) subpoenas for

    documents to numerous third-parties, including to the Defendants’ spouses and all of their related

    entities. In response to my request for documents from Defendants Signore and Schumack, both

    individuals responded by invoking their Fifth Amendment right against self-incrimination.3

              In my opinion, the Receivership will continue for an extended period of time in order for

    me to carry out my court-ordered duties. Indeed, to date, I have located potential assets in the

    possession of the individual Defendants and other third-party transferees whom I anticipate

    pursuing on behalf of the Estate in the future.

        II.      PROCEDURAL BACKGROUND

              On April 7, 2014, the United States Securities and Exchange Commission (“SEC”) filed a

    Complaint and sought emergency relief from this Court to enjoin JCS, TBTI, Joseph Signore

    (“Defendant Signore”), and Paul L. Schumack, II (“Defendant Schumack”) (collectively,

    “Defendants”) from ongoing violations of the anti-fraud and registration provisions of the federal

    securities laws alleging the sale of securities through investments in virtual concierge machines

    (“VCMs”).4 The SEC’s Complaint alleges that from at least 2011 through the filing of the action,

    the Defendants fraudulently raised at least $40 million from hundreds of investors nationwide by,

    among other things: (1) operating a Ponzi scheme, where, through numerous misrepresentations

    and omissions, they used new investor funds to make returns to earlier investors; and (2)




    3
      Further, as explained below, neither Defendant provided this Court with a Court-ordered sworn
    accounting. Notably, Ms. Laura Grande Signore, Defendant Signore’s spouse, also invoked her
    Fifth Amendment right in response to a subpoena for documents, among making other objections.
    4
     VCMs are either free-standing or wall-mounted machines, similar to automated teller machines,
    which allow users to, among other things, purchase products and view advertisements.
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    guaranteeing investors exorbitant returns of up to 500% over the life of three or four year

    investment contracts through generating advertising revenues using the VCMs deployed at hotels,

    airports, stadiums, other locations. Moreover, the SEC alleged that the Defendants used significant

    sums of investor monies for their own use, including to divert money to themselves and family

    members.      The SEC, in turn, sought permanent injunctions, disgorgement, and civil penalties

    against the Defendants.

           In response, the Court entered an Ex Parte Temporary Restraining Order, which included

    an Order to Show Cause Why a Preliminary Injunction Should Not be Granted; an Asset Freeze

    Order; an Order Requiring Sworn Accountings; an Order Prohibiting Destruction of Documents;

    and an Order Granting Expedited Discovery. (“TRO”) [DE 16]. The same day, the Court entered

    an Amended Receivership Order appointing me as Receiver over JCS and TBTI. [DE 19]

    (“Receivership Order”). On April 14, 2014, the Court entered an Order Granting Receiver’s

    Emergency Motion to Expand Receivership to Include My Gee Bo, Inc. [DE 26]. As a result, I

    am currently the Receiver over JCS, TBTI, and Gee Bo.

           On April 15, 2014, on behalf of JCS and TBTI, I consented to an Agreed Order of

    Preliminary Injunction and Other Relief Against JCS and TBTI. [DE 29]. Shortly thereafter, on

    April 28, 2014, the Court entered an Order of Preliminary Injunction and Other Relief Against

    Defendants Joseph Signore and Paul L. Schumack, II. [DE 47]. As a result, the Defendants assets

    are frozen.

           On May 15, 2014, Defendant Signore filed an Answer in response to the SEC’s Complaint

    in which he asserted his Fifth Amendment against self-incrimination. [DE 66]. Defendant

    Schumack did not file an Answer, but was provided additional time to do so. [DE 91]. During the

    SEC’s depositions of Defendants Signore and Schumack, Defendant Signore asserted his Fifth



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    Amendment right against self-incrimination in response to the SEC’s substantive questions while

    Defendant Schumack essentially refused to answer any questions. Similarly, neither Defendant

    provided this Court with a Court-ordered sworn accounting. Instead, Defendant Signore asserted

    his Fifth Amendment right in response to providing a sworn accounting, and Defendant Schumack

    did not respond to the Court’s order. [DE 69].

               On May 20, 2014, the United States Attorney’s Office for the Southern District of Florida

    (“USAO”) filed a motion to intervene in the SEC case requesting that the Court stay the SEC’s

    case pending the final resolution of parallel criminal proceedings against Defendants Signore and

    Schumack and others.5 [DE 75]. The USAO did not request that the Court stay the instant

    Receivership. On June 17, 2014, the Court granted the USAO’s motion, stayed SEC’s action, and

    ordered me to continue to carry out the Receivership Order. [DE 98].

        III.      EMPLOYMENT OF PROFESSIONALS AND CONSULTANTS

               During the afternoon of April 7, 2014, I obtained the Receivership Order and assembled a

    team of professionals immediately to secure the premises and assets at JCS’s headquarters in

    Jupiter, Florida. Pursuant to the Receivership Order, I was provided with the authority to: 1)

    “employ legal counsel, actuaries, accountants, clerks, consultants as assistants . . . .” as I deem



    5
       On April 7, 2014, the USAO filed a Criminal Complaint charging Defendants Signore and
    Schumack with mail fraud, wire fraud, and conspiracy to commit mail and wire fraud.
    Subsequently, in May 2014, a grand jury sitting in the Southern District of Florida returned an
    Indictment in U.S. v. Signore, et al., Case No. 14-80081-Cr-Hurley/Hopkins (S.D. Fla. May 8,
    20014) charging: 1) Defendant Signore with conspiracy to commit mail and wire fraud, counts of
    mail and wire fraud, conspiracy to commit money laundering, promotion money laundering,
    concealment money laundering, and illegal money spending; 2) Defendant Schumack with
    conspiracy to commit mail and wire fraud, counts of mail and wire fraud, conspiracy to commit
    money laundering, concealment money laundering, and illegal money spending; 3) Ms. Laura
    Grande Signore with conspiracy to commit mail and wire fraud, counts of mail and wire fraud,
    conspiracy to commit money laundering, and concealment money laundering; and 4) Mr. Craig
    Hipp with conspiracy to commit mail and wire fraud and one count of mail and wire fraud.


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    necessary; and 2) “engage persons in [my] discretion to assist [me] in carrying out [my] duties and

    responsibilities . . . .” See [DE 19 at ¶¶ 4-5]. Specifically, I engaged the forensic accounting firm

    of KapilaMukamal, LLP6 as my accountants and the law firm of Sallah, Astarita & Cox, LLC as

    my counsel.7 I also employed a forensic computer firm named Computer Forensics, LLC8 and a

    locksmith to assist me. I subsequently retained Robert Carey, Esq. of the Law Offices of Robert

    Carey, PL as co-counsel to Sallah, Astarita, & Cox, LLC.

        IV.      ASSUMED POSSESSION AND CONTROL OF JCS – SUITE 102

              On April 7, 2014, I, along with my counsel (Jeffrey L. Cox, Esq.), my forensic accountants

    (Ms. Melissa Davis and Mr. David Greenblatt), a private investigator and certified fraud examiner




    6
        At the time, the firm was known as Kapila & Company, but on May 1, 2014, formed
    KapilaMukmal, LLP. The primary accountants working with me are Mr. Soneet Kapila, CPA,
    CIRA, CFE, CFF; Ms. Melissa Davis, CPA, CIRA, CFE; and Mr. David Greenblatt. Mr. Kaplia
    and his firm have extensive experience in representing court-appointed Receivers. Mr. Kaplia, a
    sitting member on the Panel of U.S. Chapter 7 Bankruptcy Trustees in the Southern District of
    Florida, has previously been appointed and served in the roles of a Chief Restructuring Officer,
    Corporate Monitor, Examiner, Chapter 11 Trustee of Operating Businesses, Liquidating Trustee,
    and Receiver.
    7
      The primary attorneys representing me include Jeffrey L. Cox, Esq. and Robert Carey, Esq. The
    SEC previously submitted Mr. Cox’s resume and credentials to the Court for review and
    consideration. See [DE 9-1] at p.7. Mr. Cox, a private attorney, has previously served as: 1) an
    Assistant United States Attorney (“AUSA”); 2) a Special AUSA from the SEC assigned to the
    Economic Crimes Section of the U.S. Attorney’s Office; and 3) a Senior Counsel for the SEC’s
    Enforcement Division. On April 13, 2014, I also retained Robert Carey, Esq. of the Law Offices
    of Robert Carey, PL, a solo practitioner with a business background who has extensive experience
    working with federal court receivers and their counsel in SEC and Federal Trade Commission
    enforcement actions. Mr. Carey holds a Juris Doctorate, Master of Business Administration in
    Finance, a Master of Accountancy, a Master of Real Estate Finance, and a Master of Laws. During
    April 2014, I briefly engaged the Law Offices of Mark Perry, PA, who was previously counsel for
    TBTI, to assist me in, among other things, staying pending lawsuits and gathering information
    concerning the company.
    8
     The primary forensic IT professional assisting me is Mr. Patrick Paige of Computer Forensics,
    LLC.


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    (Mr. Mark Murnan), and a forensic computer consultant (Mr. Patrick Paige) secured JCS’s

    headquarters located at 15132 Park of Commerce, Suite 102, Jupiter, Florida 33478. I permitted

    SEC counsel (Russell Koonin, Esq. and Vincent Hull, Esq.) and requested local law enforcement

    officers from the Palm Beach Sheriff’s Office to accompany me into the premises. Upon arrival,

    I initially discovered that JCS, which is located within a large office park complex in a rural area

    of Jupiter, Florida, occupied an office suite, with a large warehouse connected to it.9

           In late afternoon of April 7, 2014, my professionals and I attempted to enter the front door

    of Suite 102, but it was locked and there was no answer. Local law enforcement discovered several

    employees exiting the premises from the warehouse backdoor. Because it was nearing the close

    of business day, most of the employees had already left the office. My team obtained three of the

    employees’ information and attempted to interview them. Neither Defendant Signore nor any of

    JCS’s principals was present at the time.

           Mr. Michael Alexios, who was JCS’s IT and computer network administrator, was still

    present when my professionals and I arrived at JCS. Mr. Alexios provided my forensic computer

    consultant, Mr. Patrick Paige, with JCS’s extensive list of computer and network passwords. Upon

    entry to Suite 102, Mr. Paige proceeded immediately to secure access and lockdown all of JCS’s

    computers and server equipment.         In addition, Mr. Paige preserved electronically stored

    information and disconnected remote online access to JCS’s information from outside of the

    company. Over the course of the next few days, Mr. Paige forensically imaged ten (10) computers

    along with additional electronic storage devices located within the JCS leased premises. As a




    9
      As described below, my professionals and I discovered the following morning, on April 8, 2014,
    that JCS also leased and operated from Suite 103, which is labeled on the outside as “MyGeebo
    Inc. Corporate Office & National Training Center” with another warehouse attached to it.


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    result, and as described below, I secured and preserved every known JCS office computer onsite

    that was being used for its operations.

            To physically secure the office suite, I hired a locksmith, who immediately changed all of

    the locks on both the office and warehouse doors with the cooperation of the landlord. My

    professionals were also able to take control of an existing alarm and camera security system to

    further protect the entire premises and assets within. My professionals obtained a padlock key to

    the office complex gate, which is closed and locked each night as an additional security measure.

            Upon entry to Suite 102, my professionals secured and immediately began examining

    JCS’s books and records, which were found to be kept in a disorganized manner with no central

    repository. They also began collecting financial data and sending letters to notify financial

    institutions to freeze all known accounts in accordance with the Court’s TRO. I also confirmed

    that the SEC served Defendants’ Signore and Schumack with the TRO and Receivership Order.

       V.      ASSUMED POSSESSION AND CONTROL OF JCS – SUITE 103

            Early the following morning on April 8, 2014, I returned to JCS’s office with my

    professionals to continue my work. After opening the office, at least seven (7) JCS employees

    arrived for work. My professionals and I interviewed employees to gain an understanding of the

    nature and scope of the business, their duties and responsibilities, and to attempt to locate assets.

    I retained certain employees, under close supervision, during the first week in order to continue

    interviews, learn about the business, and identify key issues for research and pursuing assets. As a

    result of these interviews and payroll records, I discovered that JCS employed a total of four (4)

    W-2 employees in 2012, and sixteen (16) W-2 employees in 2013, and thirteen (13) W-2

    employees in 2014. While Defendant Signore did not appear at the JCS office, my professionals




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   conducted a telephone interview of Ms. Laura Grande Signore.10                  During this call, my

   professionals informed Ms. Grande Signore of the TRO and Receivership Order.

          I also discovered that on or about October 1, 2012, JCS had moved into its current office

   complex. Previously, JCS was located at 601 Heritage Drive, Jupiter, Florida 33458. My

   professionals subsequently visited the Heritage Drive location and discovered JCS had continued

   to use this address merely as a virtual office to receive mail. To date, I have continued to maintain

   this virtual office to ensure that I obtain all relevant mail related to the Receivership Entities. I

   anticipate cancelling the virtual office in the future; however, JCS continues to receive voluminous

   mail at this location, which cannot be forwarded via the U.S. Postal Service because of its character

   as a virtual office. According to information and belief, my professionals also discovered that JCS

   had an additional office located at 275 Toney Penna Drive, #1, Jupiter, Florida 33458. This

   location was utilized as a telephone sales center for a short period of time.

          Based on employee interviews and my investigation, I discovered the physical offices that

   Defendant Joseph Signore and Ms. Laura Grande Signore used, as principals and officers

   controlling both JCS and Gee Bo, were located within the office Suite 103. Moreover, I met with

   the landlord and discovered that JCS was leasing and paying the rent for both Suites 102 and 103

   located at 15132 Park of Commerce, Jupiter, Florida 33478. I quickly determined that both JCS

   and Gee Bo were jointly conducting operations from within Suites 102 and 103 and that JCS

   employee offices are located within both office suites - utilizing the same alarm system, computer




   10
       Notably, on April 8, 2014, Ms. Laura Grande Signore (a/k/a Laura Lehr and Laura Grande-
   Signore) attempted to enter the JCS premises. I instructed my professionals to deny her access so
   as not to impair my ability to perform my Court-ordered duties, which include restricting access
   to JCS’s original books and records located in both office suites. Further, in accordance with
   Paragraph 12 of the Receivership Order, I had not authorized Ms. Laura Grande Signore to take
   any action on behalf of JCS.
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   server, and telephone system. As a result, in accordance with paragraph 1 of the Receivership

   Order, my professionals and I took immediate possession and secured JCS’s property, books, and

   records located within Suite 103 and its connected warehouse. Similar to Suite 102, I had all of

   the locks changed on Suite 103. As described below, I also filed an Emergency Motion to Expand

   the Receivership over Gee Bo.

           A. Valuing Assets Contained within JCS

           Within days of my appointment as Receiver, I employed a local licensed appraiser

   specialized in the valuation of business equipment to inventory and appraise the value of the assets

   located at 15132 Park of Commerce, Suites 102 and 103, Jupiter, Florida 33478.11 Suites 102 and

   103 are essentially mirror images of each other containing approximately 23,924 combined square

   feet containing numerous physical assets. Each JCS office suite contained both administrative and

   executive office spaces, a large room which separated the offices from the warehouse, a sizeable

   unfinished second floor area, and a large warehouse containing hundreds of VCMs in various states

   of completion. Suite 102 also contained a wood shop and parts areas. The areas that were utilized

   for building the VCMs were crammed with parts, electronics, tools, and similar items. In total,

   the office building containing the entities is located on a six acre site, which was completed in

   2012. It is considered “Class A” office and warehouse space, and boasts thirty (30) foot ceilings

   in the warehouse area.

           As background, on October 1, 2012, JCS executed a sixty-five (65) month lease for Suite

   102 and continued operating out of it until the inception of the Receivership on April 7, 2014. On

   July 1, 2013, Defendant Signore then signed an addendum and modification to the October 1, 2012

   lease. This addendum included, among other things, a build out and expansion into Suite 103. As



   11
        Depending on the circumstances, I am prepared to obtain additional appraisals of the assets.
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   a result, from early July until March, 2014, JCS transformed an empty office shell with concrete

   walls into Suite 103. JCS completed this extensive and costly build out of Suite 103 shortly before

   the initiation of the SEC’s case. Specifically, the Suite 103 build out included a large kitchen,

   private bathroom for Mr. Signore, another bathroom with a shower, wood floors, a glassed-in

   conference room, a large seminar room, and high-end office furniture, among other things.

          As explained below, I have recently consolidated all of the contents and assets from Suite

   102 into Suite 103. At the time I first entered the premises, there was little empty floor space in

   either warehouse. Both warehouses contain racks used to stack additional VCMs, parts, and other

   equipment above the floor level. To protect the Estate’s assets for competitive reasons, this First

   Report intentionally does not include the specific appraised asset values, or descriptions of all

   items, discovered within the office suites or warehouses.12

          B. Investors and VCMs

          My forensic accountants have reviewed books and records recovered from JCS and TBTI,

   which provide the following number of investors and VCMs set forth below. My professionals

   are currently compiling and analyzing data received from third-parties, including financial

   institutions, to determine whether this information is accurate.

              1. Number of Investors

          In light of the extensive number of financial accounts and transactions, my professionals

   are in the process of attempting to determine the number of investors in JCS’s passive VCM

   program. While unverified at this point in time, books and records recovered from JCS and TBTI

   reflect that between December 2011 and January 2014, there were approximately 1,839 investors



   12
       As my accountants are in the process of a financial reconstruction, this First Report also does
   not contain all of the Receivership’s liabilities.


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   located nationwide who invested into JCS’s passive VCM program. Of these 1,839 investors,

   JCS’s records show that 272 invested through JCS into its program directly and that 1,567 invested

   in its program through TBTI.

              2. Number of VCMs

          While unverified at this point in time, collective books and records recovered from JCS

   and TBTI also show that during this same time period, investors purchased investment contracts

   for more than twenty-five thousand (25,000) VCMs.         According to TBTI’s records, investors

   purchased investments for 21,717 VCMs through TBTI for JCS’s investment program. JCS’s

   records reflect that investors purchased investments for an additional 4,166 VCMs from it directly

   for its program. My professionals are continuing to analyze and investigate the total number

   VCMs in which investors purportedly purchased investments. I have personally spoken to

   investors who purchased investment contracts in what they believed were hundreds of VCMs.13

          However, based on recovered documents, employee interviews, and JCS’s electronic data,

   it appears that as of April 7, 2014, JCS maintained less than one-hundred (100) operating VCMs

   placed at actual physical locations.14   Within the JCS warehouses, the appraiser indicated that

   there were approximately 40 completed VCMs and approximately 940 unfinished VCMs in

   various states of completion.15




   13
      Indeed, the SEC submitted declarations to this Court evidencing that two investors alone
   purchased contracts for at least 159 VCMs. [See DE 6-11 and 6-12].
   14
      Some locations hosted multiple machines. After media reports surfaced concerning this matter,
   certain locations, such as Roger Dean Stadium (which maintained 20 VCMs itself), demanded that
   I remove the VCMs and any JCS equipment immediately.
   15
      VCMs that are complete have multiple configurations that typically include a wooden vending
   machine with receipt printer, credit card reader, currency validator, and a computer, among other
   things. The vast majority of VCMs located in the warehouses are simply empty wooden shells.
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          C. Rent and Landlord Negotiations

          My counsel has been in routine contact with the landlord concerning the JCS and Gee Bo

   office and warehouse spaces. Until recently, I continued the lease for Suites 102 and 103 for a

   number of reasons. However, this month I decided to consolidate the personalty from Suite 102

   into Suite 103 to reduce the financial burden on the Estate. Although it was a massive undertaking

   to transfer the physical assets from Suite 102, it served to benefit the Estate. In the event that I am

   unable to obtain a reasonable purchase offer for the assets of JCS and Gee Bo for presentation to

   this Court, I have already obtained proposals from two licensed auctioneers who, with the Court’s

   approval and consistent with statutory requirements, would be ready to quickly liquidate the assets

   located at the JCS premises.

          D. Craig Hipp Relinquishes Funds

          My investigation has revealed that Mr. Craig Hipp held the title of “President of

   Manufacturing” for JCS. I was informed that Mr. Craig Hipp also had two brothers and a daughter

   who worked as employees of JCS. According to my investigation, prior to working at JCS the

   Hipp brothers were in the cabinet business and were originally producing the wood cabinets that

   housed the VCMs within the JCS woodshop area. Later, I was told that JCS contracted with a

   Miami firm to produce the VCM cabinets.

          My professionals have determined that Mr. Craig Hipp also had a separate business venture

   that he operated under the State of Florida fictitious name of A & K Electronic Solutions (“A &

   K”). I understand that A & K had an agreement with JCS whereby A & K would use its suppliers

   to order various electronic components necessary for building the VCMs at wholesale prices and

   then would resell them to JCS at a slightly marked up price to make a profit.




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            My attorney contacted counsel for Mr. Craig Hipp and negotiated the return of $175,580

   of monies that were prepaid by JCS on a credit card to A & K for the future purchase of additional

   electronic components. I segregated these funds into a separately numbered account within the

   JCS Receivership Estate account. My professionals are in the process of determining the amount

   of money that A & K (Mr. Hipp) received under this agreement and while at JCS.

      VI.      ASSUMED CONTROL AND POSSESSION OF GEE BO

            A. Emergency Expansion of the Receivership Over Gee Bo

            Shortly after initiating my investigation, my professionals and I determined that a Florida

   corporation named My Gee Bo, Inc.: 1) was controlled by Defendant Signore and his wife, who

   were both corporate officers; 2) used and shared an office suite leased by JCS (i.e., Suite 103); 3)

   used JCS to pay its expenses; 4) utilized JCS employees; 5) received funds from, and commingled

   funds with, the Receivership Entities; and 6) prominently displayed “GEEBO” or “GEE BO” on

   JCS’s VCMs, JCS business cards, JCS promotional materials, and in JCS YouTube videos

   marketing JCS to the public. Accordingly, I deemed it necessary to seek emergency expansion of

   the Estate over Gee Bo for the benefit of investors.

            Merely one week after my appointment, on April 14, 2014, I filed an Emergency Motion

   to Expand the Receivership Over My Gee Bo, Inc. [DE 23]. In turn, the Court granted the Motion,

   which extended the Receivership Order over Gee Bo [DE 26]. As explained in detail below, this

   swift expansion over Gee Bo significantly increased the Estate’s value. The expansion of the

   Receivership to include Gee Bo resulted in my taking control of Gee Bo financial accounts valued

   at $1,116,881.34.




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             B. Gee Bo

             Based on my investigation to date, Gee Bo is a start-up company that obtained licensing

   rights to use a mobile device platform marketed to purchase products and services from a wireless

   device.     According to Gee Bo’s marketing materials, a downloaded computer application

   purportedly acts as a secure online vault that maintains a customer’s credit card account

   information so that the customer can make a purchase without using a physical credit card or

   entering credit card information.16 The company claimed that when using the Gee Bo application

   from a smart phone, a customer can make a purchase without providing a credit card or credit card

   information with any merchant that had installed corresponding software. Gee Bo’s marketing

   also claimed that the idea behind Gee Bo is to provide instant sales without the need for providing

   or entering physical credit card information thereby reducing the risk of credit card fraud. To date,

   I have not obtained a working model of the Gee Bo application.

             My investigation has revealed that the Gee Bo application was promoted to certain

   investors in soliciting them to invest in JCS’s passive investment program. JCS also engaged a

   celebrity named Ms. Barbara Corcoran whose company received at least $400,000.00 as part of a

   “Talent Agreement” dated October 17, 2013 between “JCS Enterprises d/b/a GeeBo” and Barbara

   Corcoran Productions, LLC. According to the Talent Agreement, JCS engaged the celebrity “to

   endorse and promote the Company’s [defined as “JCS Enterprises d/b/a GeeBo”] product currently

   entitled “GeeBo” . . . and to appear in thirty and sixty second TV commercials . . ., social media,

   Twitter, PR, internet promotions, direct mail, point-of-sale, [and] the smart phone app . . . .” Of

   the $400,000, my professionals have determined that the company received $200,000 from JCS



   16
       According to at least one document, Defendant Signore jointly owns, along with another
   individual, the intellectual property to a portion of the application called the “Quick Check
   Payment Application,” which they agreed to license and put into practice through Gee Bo.
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   directly and $200,000 from a brokerage account held in the name of Gee Bo. My attorneys and I

   have ongoing dialogue with Ms. Corcoran’s representatives concerning her agreement.

           Further, my investigation shows that Gee Bo began sublicensing its rights for certain

   locations within the United States to the public. I have been told that Gee Bo then subsequently

   began repurchasing these sublicensing rights in anticipation of an alleged future deal with a foreign

   national to, in turn, purchase the licensing rights to a large segment of the U.S. My professionals

   are in the process of reconstructing the financial accounts, interviewing individuals, and reviewing

   documents to determine the veracity of this information.

        VII.   ASSUMED POSSESSION AND CONTROL OF TBTI

           Simultaneous with my efforts to secure and control JCS, my staff also sought to secure

   TBTI and its assets. On April 7, 2014, the same day I was appointed as Receiver, I was informed

   that TBTI was operating from within the residence of Defendant Schumack and his wife, Ms.

   Christine Schumack, located in Coconut Creek, Florida.17 Defendant Schumack served as TBTI’s

   President and a Director and Ms. Christine Schumack served as its Secretary and as a Director.

   Interviews and documents show that Defendant Schumack solicited numerous individuals to invest

   in JCS’s passive investment program, among other things.

           A. Secured Known TBTI Assets

           My professionals and I discovered that TBTI was potentially also operating from an office

   located at 4100 N. Powerline Road, Suite F-5, Pompano Beach, Florida 33073. Accordingly, on

   April 8, 2014, my staff visited this location immediately and found a sign on the door stating that




   17
     My investigation has revealed that the Schumacks purchased the Coconut Creek residence on
   November 12, 2013 for $1,649,000. Notably, TBTI’s records reflect that between April 2013 and
   December 2013, the Schumacks operated TBTI from a rented oceanfront residence located in
   Highland Beach, Florida for $60,800 per month.
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   TBTI did not operate out of the office space. My staff also inquired and was told that the tenant

   was subleasing from TBTI, which was no longer located on the premises.

          The following day, my professionals and I began discussions with Mr. Chad Wright, who

   is the son of Ms. Christine Schumack. Mr. Wright informed me that TBTI was partially operating

   out of the office location at 4100 N. Powerline Road, Suite F-5, Pompano Beach, Florida 33073.

   I then met Mr. Wright at the office location to learn about the business and research potential asset

   recovery. Mr. Wright explained to me that TBTI had been engaged in the automated teller machine

   (“ATM”) business for years that was unrelated to the VCM investment program.

          My professionals also began discussions with Ms. Christine Schumack through her counsel

   at the time. My attorney provided Ms. Schumack’s attorney with copies of the Receivership Order,

   TRO, and demanded, in accordance the Receivership Order, that she provide me with all of TBTI’s

   assets, books, and records, among other things. Indeed, during April 2014, my attorneys sent Ms.

   Schumack demand letters and served her with a subpoena. She ultimately produced TBTI

   QuickBooks files and a total of sixteen (16) boxes of documents, which my staff has inventoried

   and is reviewing for my continued investigation.

          B. Approved Sale of TBTI’s ATM Business

          Based on my initial investigation, it became clear that TBTI’s most valuable known asset

   was its automated teller machine (“ATM”) business, which involved hundreds of individual

   contracts with ATM locations throughout the United States and approximately sixty-six (66) ATM

   terminals and other related equipment. While I discovered that TBTI’s ATM business had positive

   cash flow historically, the business was impaired and in jeopardy of folding at any time.

   Accordingly, I immediately began seeking a method to maintain the status quo while I attempted

   to secure a buyer for TBTI’s ATM business.



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          My investigation revealed that the ATM business line was divided among four different

   subsets. The first three subsets involved large U.S. retail corporations as follows: (1) Best Buy

   Co., Inc. (“Best Buy”); (2) BJ’s Wholesale Club, Inc. (“BJ’s Wholesale”); and, (3) Starwood

   Hotels & Resorts Worldwide, Inc. (“Starwood”) (collectively, the “Corporate Customers”).

   Significantly, TBTI’s relationships with each of the Corporate Customers involved a Utah

   company named eGlobal, LLC (“eGlobal”).

          With respect to BJ’s Wholesale and Starwood, Master Services Agreements or

   substantially similar agreements existed between TBTI and the customer, and a side agreement

   existed between TBTI and eGlobal, to sponsor, process, and support TBTI’s ATM machines at

   certain of those customers’ locations. The relationship between TBTI and eGlobal with respect to

   Best Buy arose from a partnership agreement that involved the sharing of revenue from ATM

   business that TBTI secured and supported. The fourth subset of the ATM business line involved

   independent contracts that TBTI has established with multiple third parties at various locations

   throughout the country. eGlobal also processed the transactions for these independent machines

   via an Exclusive Distributorship Agreement with TBTI.

          I discovered that there were numerous reasons to sell the ATM business immediately for

   the benefit of all investors and creditors. First, for several months prior to the instant case, TBTI

   had failed to make payments to its subcontractors or meet its revenue sharing obligations with such

   subcontractors or host locations. Second, I also learned that, in some situations, the locations that

   hosted ATMs were actively looking for other service providers and no longer want to do business

   with TBTI. Further, I confirmed that the Corporate Customers were uncomfortable continuing

   their relationship with an entity such as TBTI, which had suffered severe damage to its goodwill

   as a result of the SEC’s case and the fact that the company was placed into receivership. Starwood,



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   the largest Corporate Customer, expressed a desire in writing to sever its ties with TBTI.

   Significantly, the Master Agreement with Starwood expressly provided that Starwood may

   terminate the agreement with TBTI if it, among other things, files bankruptcy or goes into

   receivership.

          Moreover, the contracts between TBTI and eGlobal with respect to the Corporate

   Customers restricted TBTI’s ability to transfer or assign the provisioning of services to the

   Corporate Customers, or any associated income, to any third-party. Further, the independently

   contracted ATM relationships were subject to a right of first refusal for the benefit of eGlobal with

   respect to the sale of TBTI’s assets, including the ATM contracts. As a result, I retained the law

   firm of Akerman & Senterfit, LLP to provide transactional counsel as part of extensive

   negotiations that followed between myself and eGlobal.

          While I attempted to entertain other bids, I was ultimately able to negotiate a proposed

   agreement with eGlobal. Accordingly, I filed an Emergency Motion with this Court seeking

   approval of a proposed Bill of Sale, Assignment and Assumption Agreement. In turn, this Court

   granted the Motion and eGlobal paid the Estate two-hundred thousand dollars ($200,000.00) in

   exchange for TBTI’s right, title and interest in: (1) the contracts with each of Starwood, BJ’s

   Wholesale and Best Buy; (2) sixty-six (66) ATM terminals which, to the Receiver's knowledge,

   are owned or controlled by TBTI.; (3) independent contracts between TBTI and various

   counterparties relating to multiple locations throughout the country (the “Independent Contracts”);

   (4) various agreements between TBTI and eGlobal, including any agreements related to Best Buy;

   and (5) solely to the extent owned or otherwise controlled by TBTI, all locations and equipment

   associated with the foregoing, each on a “where-is” and “as-is” basis. As part of the Agreement,

   eGlobal established a cure fund of thirty thousand Dollars ($30,000.00) for the sole purpose of



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   curing outstanding obligations of TBTI under the Independent Contracts. That fund has since been

   exhausted.

          In addition to collecting $200,000.00 for the sale of the ATM business, my professionals

   and I were also able to negotiate and collect an additional $293,186.30 related to TBTI’s ATM

   business for a total of $493,186.30. Specifically, eGlobal agreed to turn over a payment to the

   Estate in the amount of $108,492.30, which was due to TBTI for its portion of the ATM fees and

   interchange fees in prior months. Further, we were able to negotiate the Estate retaining TBTI’s

   rights to approximately $184,694.00 in vault cash that was being used to fund the ongoing

   operations of the ATM machines that were owned and serviced by TBTI via a company called

   W.C.F.S., Inc., which is owned by Mr. Wright.

          Mr. Wright cooperated with my professionals by providing information that served to

   increase the Estate’s value. In addition, Mr. Wright assisted my professionals with maintaining

   the status quo of the South Florida operations during the period of the transfer of the assets to

   eGlobal.18 Accordingly, my professionals and I were able to salvage the value of the TBTI ATM

   business, consummate a sale, and collect a total of $493,186.30 for the Estate within approximately

   one month of my appointment as Receiver.

          C. Other TBTI Recovered Assets

          In addition, at the end of May 2014, my professionals’ negotiated return of TBTI’s lease

   deposit and turnover of the office space located at 4100 N. Powerline Road, Suite F-5, Pompano

   Beach, Florida 33073 to the landlord to further reduce the financial burden on the Estate. I also




   18
          The Bill of Sale, Assignment, and Assumption Agreement necessitated that I act in a
   commercially reasonable manner to allow for the transfer of the servicing of ATMs in such a way
   as to preserve the TBTI assets. This process took approximately several weeks.


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   secured a 1989 Grady White fishing vessel that had been stored in the TBTI’s office warehouse.

   My professionals identified this vessel as being purchased with funds from TBTI and obtained a

   release of it from Mr. Wright, who holds its title, to the Estate. In the future, I anticipate seeking

   Court-approval to sell this vessel for the benefit of the Estate.19

         VIII. CURRENT ESTATE FINANCIAL INFORMATION

            My professionals assisted me in swiftly opening fiduciary bank accounts for the

   Receivership Entities. They also quickly prepared and issued letters with copies of the TRO and

   Receivership Order to all known financial institutions holding funds in the Defendants’ names and

   to all known merchant accounts. The letters demanded the transfer of all the Estates’ funds into

   new accounts. Shortly thereafter, the frozen funds were transferred into the Estate’s accounts,

   which are under my control. In accordance with the Receivership Order, I have also paid certain

   necessary expenses in carrying out my duties and responsibilities. Specifically, the following

   tables reflect amounts transferred to the Estate accounts and certain expenses paid to date:

          JCS Enterprises, Inc. – Receivership Estate Segregated Account as of June 30, 2014
        Receipts
        Turnover of Funds from Frozen Accounts                           2,514,453.03
        A & K Electronic Turnover of funds (segregated)                    175,580.00
        Petty Cash Retrieved from JCS headquarters                              102.79
                                                 564564
        Various Account Refunds Collected                                    7 ,637.38
        Total Receipts                                                                     2,697,773.20
        Disbursements
        Lease Payments                                                    (41,231.78)
        Contract Labor & Office Expenses                                  (14,204.74)
        Other Contract Expenses                                           (21,615.44)
        Total Disbursements                                                                 (77,051.96)
        Balance in JCS Enterprises, Inc. Segregated                                        2,620,721.24

     Account
   19
      At this point, my professionals have not determined whether the vessel was purchased with
   investor funds.
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                 T.B.T.I., Inc. – Receivership Estate Segregated Account as of June 30, 2014
     Receipts
     Turnover of ATM Profits Due from eGlobal                            108,492.30
     Sale of ATM Business to eGlobal                                     200,000.00
     Vault Cash Recovered from ATM Machines                              184,694.00
                                            564564
     Lease Deposit Refund                                                  2,836.38
     Total Receipts                                                                         496,022.68
     Disbursements
     Lease Payments                                                       (2,920.30)
     Contract Labor & Office Expenses                                     (8,750.50)
     Other Contract Expenses                                              (1,000.00)
     Total Disbursements                                                                    (12,670.80)
     Balance in T.B.T.I., Inc. Segregated Account                                            483,351.88



           My Gee Bo, Inc. – Receivership Estate Segregated Account as of June 30, 2014
     Receipts
     Turnover of Funds From Frozen Account                             1,116,881.34
     Total Receipts                                                                       1,116,881.34
     Balance in T.B.T.I., Inc. Segregated Account                                         1,116,881.34
                                              564564

          As stated previously, my professionals have also begun an extensive and complex financial

   reconstruction of numerous financial accounts involving tens of thousands of transactions in order

   to analyze the Receivership Entities’ financial history from December 2011 through April 7, 2014,

   which I believe is the relevant time period. Again, they have identified a total of seventy-seven

   (77) related financial accounts. I expect it to be time-consuming to collect, organize, and

   forensically analyze all of the financial records required for a complete financial reconstruction.

   With this analysis, I anticipate identifying and pursuing individuals and entities in accordance with

   paragraph 2 of the Receivership Order.




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      IX.      DOCUMENT COLLECTION AND ONGOING REVIEW

            Pursuant to paragraphs 1 and 2 of the Receivership Order, my professionals have spent

   extensive time collecting, reviewing, and inventorying documents and electronic information.

   They have already requested documents from the Defendants and issued forty-five (45) subpoenas

   for documents to numerous third-parties. The hard copy and electronic documents accumulated,

   to date, include email, accounting and legal records, investor files, bank statements and backup,

   payroll records, credit card information, merchant account records, tax returns, QuickBooks files,

   mail, and other relevant documents. The document collection and review process is ongoing.

      X.       INVESTOR AND CREDITOR RELATED MATTERS

            A. Investor Communication

            Since the inception of the Receivership, I have personally spoken to countless investors

   about their individual relationship with the Defendants and how they came to invest. I continue to

   interface with investors on a weekly, and often daily, basis.

            B. Creation of Receivership Website

            In April 2014, I quickly set up a website that is easily searchable on the Internet for

   purposes of providing information to investors and/or creditors concerning the Receivership. The

   website address is located at www.jcs-tbtireceivership.com. My professionals also redirected

   existing known Receivership entity websites to the Receivership’s website. The website itself

   contains letters from me to investors, various filings in the SEC lawsuit, my contact information,

   and a form to enable investors to register their name and contact information into a database so

   that my team can begin to compile a list of investors to reconcile against the investor lists obtained

   from the offices of TBTI and JCS. This entry form is not for purposes of any future court-approved

   claims process.



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          C. Planned Town Hall Meeting

          In the near future, I plan to hold a local town hall meeting where investors can meet me,

   along with my professionals in person, or attend via a telephone conference call. The purpose of

   this meeting will be to provide investors with the opportunity for a question and answer session

   concerning the Estate. While I had anticipated having this meeting this month, it will likely be

   held in August or September 2014 because of the extensive financial analysis that has been

   required under the circumstances. I will announce the date and time of the meeting on the

   Receivership website.

          D. Credit Card Chargebacks

          My investigation has revealed that JCS was accepting credit card payments from the

   investors to invest in its investment programs. To date, my professionals have identified seven (7)

   merchant accounts used for credit card services. Based on my investigation, I understand that

   beginning in about the fourth quarter of 2013, numerous investors who paid for their investments

   using a credit card began pursuing reversals or “chargebacks” through their card issuing banks in

   an attempt to recover their respective transaction amounts.

          To date, I have been informed that the majority of these chargebacks for major credit cards

   have been processed and paid for by a company named First Data Merchant Services Corporation

   (“First Data”). This corporation provides processing services to merchants that participate in

   bankcard and non-bankcard payment programs, such as Visa, MasterCard, American Express and

   Discover, to accept such cards for the payment of goods and services. Among other things, I

   understand that First Data handles chargebacks of those transactions in the event a cardholder or

   card-issuing bank disputes a transaction.




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           According to First Data, the total amount of chargebacks that it has purportedly paid to

   JCS investors continues to increase and exceeds $5 million currently. This is significant for several

   reasons. First, First Data will likely seek a claim for these funds from the Estate in any future,

   court-approved claims process. Second, because I am aware that certain investors (including

   cardholders) received monthly payments from the Receivership Entities at least through December

   2013, I am concerned that some credit card investors may have sought, or continue to seek, a

   chargeback(s) from First Data (or another credit card merchant), in excess of their principal

   investment amount. On the one hand, this situation would create a profiteer investor (one who

   recovers more their principal investment amount), and, on the other hand, it would increase First

   Data’s (or another credit card merchant’s) potential trade creditor claim on the Estate.20 Third,

   this situation potentially creates an inequitable position for those investors who did not invest with

   a credit card.

           Accordingly, on JCS’s behalf, I provided First Data with a letter in May 2014, which it in

   turn, provided to issuing credit card banks and card holders seeking chargebacks from JCS. The

   letter informs the issuing banks and card holders that I will not likely object to the investor, or

   issuing bank, receiving reimbursement up to the consumer’s full transaction amount (or

   investment) less any distribution payments received from the Receivership Entities. However, the

   letter explains that I object to an investor, or issuing bank, charging back the full amount of the

   transaction without accounting for payments the investor already received from the Receivership

   Entities. The letter provides that if an investor is seeking full reimbursement of the card transaction

   without taking into account monies already received from the Receivership Entities, in my role as




   20
     This could increase the costs to the Receivership if I were to pursue fraudulent transfer claims
   under paragraph 2 of the Receivership Order.
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   Receiver, I may have no choice but to seek this Court’s approval to pursue those individuals (or

   entities) who received an amount greater than their principal investment due to monies being

   credited to them through the chargeback process. Finally, in the letter, I request that the investor

   initiating a chargeback state the amount of funds received from the Receivership Entities in

   connection with the transaction that is the subject of this chargeback to evaluate the difference, if

   any, between the transaction amount and the funds the investor already received from the

   Receivership Entities. I also enclosed a statement with the letter that the investor seeking a

   chargeback can complete, sign, and submit. Upon completion and submission of the form, in my

   capacity as Receiver, I may not object to a chargeback limited to the net transaction amount

   remaining unpaid as represented by the investor cardholder.

             As a result, my professionals and I anticipate the future necessity to issue numerous

   subpoenas to credit card companies and dozens of issuing banks to obtain investor chargeback

   information and financial data. I anticipate that this will result in a complex and extensive analysis

   to determine investors’ net losses in any future court-approved claims process. Considering that

   First Data alone claims to have paid out more than $5 million in chargebacks to investors to date,

   this future analysis will likely be crucial and time-consuming.

       XI.      LEGAL RELATED MATTERS

             A. Complaint and Amended Receivership Order

             Within ten (10) days of my appointment as Receiver, I filed a copy of the SEC’s Complaint

   along with a certified copy of the Receivership Order in accordance with 28 U.S.C. §754 in thirty-

   eight (38) federal districts nationwide. While I initially filed in districts in which I believed within

   the first ten (10) days that there may be potential Estate property, I will likely seek reappointment




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   from this Court as Receiver to file in accordance with 28 U.S.C. §754 in additional districts in the

   near future.

          B. Attended Preliminary Injunction Hearing

          On Monday, April 28, 2014, I attended the Preliminary Injunction Hearing in order to serve

   as a witness. Although I was fully prepared to testify during the hearing, the Defendants consented

   to an Order of Preliminary Injunction and Other Relief Against Defendants Joseph Signore and

   Paul L. Schumack, II.

          C. Stayed Lawsuits

          As a result of my motions, this Court has stayed seven (7) lawsuits involving the

   Receivership Entities and/or the Defendants. [DE 54 and DE 97]. Six (6) of these lawsuits were

   pending prior to the inception of the Estate. The final one, a class action lawsuit, was filed after

   the Receivership Order. Specifically, I stayed the following cases:

          (1) Michelle Robinson and Robert Rosa v. T.B.T.I, Inc., Case No. 2014CA002931 (Div.

   AD), pending in the Circuit Court of the 15th Judicial Circuit in and for Palm Beach County,

   Florida;

          (2) First Data Merchant Services Corporation v. JCS Enterprises, Inc., Joseph Signore,

   and Richard Brown, Case No. 14-006801-CA, pending in the Circuit Court of the 11th Judicial

   Circuit in and for Miami-Dade County, Florida;

          (3) Herbert Weiss v. JCS Enterprises, Inc. and T.B.T.I, Inc., Case No. 2014-CA-001992-

   O, pending in the Circuit Court of the 9th Judicial Circuit in and for Orange County, Florida;

          (4) Cash Express Services, LLC v. JCS Enterprises, Inc. and T.B.T.I., Inc., Case No. 2014-

   CA-002433 (Div. G), pending in the Circuit Court of the 13th Judicial Circuit in and for

   Hillsborough County, Florida;



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          (5) Joseph Mitchell v. T.B.T.I., Inc. and Paul Schumack, Case No. 14A-6291, pending in

   Cobb County, Georgia;

          (6) Daniel A. Rainville v. T.B.T.I., Inc., Case No. 502014CA003708XXXXMB, pending

   in the Circuit Court of the 15th Judicial Circuit in and for Palm Beach County, Florida; and

          (7) Troy Payne and Chrystal Payne, individually and on behalf of their minor children,

   CP1 and CP2, and John and Tori Sorrells v. Joseph Signore, Laura Signore, Paul Lewis

   Schumack, II, Christine Schumack, JCS Enterprises, Inc., d/b/a JCS Enterprises Services, Inc.,

   T.B.T.I. Inc., My Gee Bo, Inc., and PCSC Holdings, LLC, Case No. 9:14-cv-80607-Middlebrooks

   (S.D. Fla. May 6, 2014).

          However, I recently agreed to a motion filed by First Data, a non-party to this lawsuit,

   requesting an order lifting the Court’s stay of lawsuits [DE 54], in part, to allow First Data to

   proceed with its action captioned First Data Merchant Services Corp. v. JCS Enterprises, Inc.,

   Joseph Signore, and Richard Brown, Case No. 14-006801-CA-40, currently pending in the Circuit

   Court of the 11th Judicial Circuit in and for Miami-Dade County, Florida, among other things.

   First Data does not seek to lift the Court’s stay over JCS or Defendant Signore. [DE 101]. The

   Court then granted this motion. [DE 102].

          D. Obtained Legal Information

          My professionals also quickly sent letters to attorneys who previously represented the

   Receivership Entities requesting copies of their files and any funds held in trust accounts. To date,

   my attorneys have obtained all known files from any attorneys who have represented the

   Receivership Entities and are in the process of reviewing such information.




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                                      30



      XII.    CONCLUSION

          In conclusion, I am continuing to carry out my directives under the Receivership Order. I

   plan to submit additional status reports from time to time, and the facts and conclusions in this

   First Report are subject to change as my investigation progresses during the course of the

   Receivership.

   Executed on this 31st day of July 2014.     Respectfully submitted,




                                               __________________________________________
                                               James D. Sallah, Esq.,
                                               Not individually, but solely in my capacity as
                                               Receiver of JCS Enterprises, Inc. d/b/a JCS
                                               Enterprises Services, Inc., T.B.T.I., Inc., and My Gee
                                               Bo, Inc.




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